
21 So.3d 166 (2009)
Michele PRICE, Appellant,
v.
FLAGLER COUNTY SCHOOLS, Appellee.
No. 5D08-4108.
District Court of Appeal of Florida, Fifth District.
November 13, 2009.
Michele Price, Palm Coast, pro se.
Kristy J. Gavin, of Gobelman, Love Gavin, Wasilenko &amp; Broughan, LLC, Jacksonville, for Appellee.
PER CURIAM.
Michele Price appeals from a final order of the Florida Commission on Human Relations that dismissed with prejudice her petition for relief from an alleged unlawful employment practice. We affirm. A careful review of the record confirms that the hearing officer's order was supported by competent, substantial evidence. See Brown v. Agency for Health Care Admin., 890 So.2d 1170 (Fla. 5th DCA 2004).
AFFIRMED.
ORFINGER, LAWSON and EVANDER, JJ., concur.
